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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                 LAKE CHARLES DIVISION


 STATE OF LOUISIANA, ET AL                             CASE NO. 2:21-CV-0778

 VERSUS                                                JUDGE TERRY A. DOUGHTY

 JOSEPH R. BIDEN, JR., ET AL                           MAG. JUDGE KATHLEEN KAY

                                           JUDGMENT

        The Report and Recommendation of the Magistrate Judge [Doc. No. 154] having been

 considered, together with the written objections thereto filed with this Court, and, after a de novo

 review of the record, finding that the Magistrate Judge’s Report and Recommendation is correct

 and that judgment as recommended therein is warranted,

        IT IS ORDERED, ADJUDGED, AND DECREED that Government Defendant’s

 Motion to Dismiss Pursuant to Rule 12(b) [Doc. No. 128] requesting that the Court dismiss all

 claims in Plaintiff States’ complaint other than Count VI, and that it dismiss the President as a

 party, is hereby DENIED.

        MONROE, LOUISIANA, this 22nd day of September 2021.




                                                                TERRY A. DOUGHTY
                                                           UNITED STATES DISTRICT JUDGE
